Case 1:1O-cV-0057O-ESC ECF No. 67 filed 05/06/14 Page|D.316 Page 1 of 2

UN|TED STATES DlSTRlCT COURT
FOR THE WESTERN DlSTRlCT OF MlCH|GAN
SOUTHERN DlVlSlON

JESS|E HARR|SON, CaSe NO. 1110-Cv-00570

_ HON. JANET T. NEFF
P|aintiff,
v

CYNTH|A PARTR|DGE,

SANDRA GRANT, LOR| ENGMARK,
PATR|C|A CARUSO, JENN|FER GRANHOLM,
COUNTY OF WAYNE, UNKNOWN PART|ES

 

 

Defendants.

Brad|ey K. G|azier (P35523) Michae| Richard Dean (P24323)
BOS & GLAZ|ER, P.L.C. Assistant Attorney Genera|
Attorneys for P|aintiff DEPT. OF ATTORNEY GENERAL
990 Monroe Avenue, N.W. Attorney for Defendant
Grand Rapids, M| 49503 525 West Ottawa Street
(616) 458-6814 PO Box 30217
bqiazier@bosqiazier.com Lansing, N|| 48909

(517) 335-7139
James M. Surowiec (P67961) deaan@mich.gov

Zenna E|hasan (P67961

Wayne County Corporation Counse|
500 Griswoid, 11th F|oor

Detroit, M| 48226

(313) 224-6682
isuroWiec@co.Wavne.mi.us

 

PLA|NT|FFS’ MOT|ON FOR LEAVE TO FlLE FlRST AMENDED COMPLAINT

 

P|aintiff, Jessie Harrison, by and through his counse|, Bos & Giazier, P.L.C., moves
this Court, pursuant to Fed. R. Civ. P. 15, for leave to file plaintiff’s First Amended

Comp|aint and Jury Demand (attached as ExhibitA). P|aintiff’s motion is supported by the

Case 1:1O-cV-0057O-ESC ECF No. 67 filed 05/06/14 PagelD.317 Page 2 of 2

pleadings filed With the Court and the enclosed brief in support. Plaintiff’s counsel sought
concurrence in the relief sought in this motion by email on May 5, 2014. The defendants
are opposed to the relief sought by this motion.

WHEREFORE, plaintiff respectfully requests this Courtto grant his motion for leave

to file plaintiff’s First Amended Comp|aint and Jury Demand.

BOS & GLAZ|ER, P.L.C.
Attorneys for Plaintiff

DATE: May 6, 2014 BY: /s/ Bradley K. Glazier
Bradley K. Glazier (P35523)

BUS|NESS ADDRESS:
990 Monroe Avenue N.W.
Grand Rapids, Ml 49503
(616) 458-6814

.120535

